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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA


PERKINS COIE LLP,

                                  Plaintiff,

v.


U.S. DEPARTMENT OF JUSTICE,
FEDERAL COMMUNICATIONS
COMMISSION, OFFICE OF                             NO. 1:25-cv-00716-BAH
MANAGEMENT AND BUDGET,
EQUAL EMPLOYMENT OPPORTUNITY
COMMISSION, OFFICE OF PERSONNEL
MANAGEMENT, GENERAL SERVICES
ADMINISTRATION, OFFICE OF THE
DIRECTOR OF NATIONAL
INTELLIGENCE, THE UNITED STATES
OF AMERICA, and in their official
capacities, PAMELA J. BONDI, BRENDAN
CARR, RUSSELL T. VOUGHT, ANDREA
R. LUCAS, CHARLES EZELL, STEPHEN
EHEKIAN, and TULSI GABBARD,

                                Defendants.



     BRIEF OF AMICI CURIAE 363 LAW PROFESSORS IN SUPPORT OF PLAINTIFF’S
        MOTION FOR SUMMARY JUDGMENT AND FOR DECLARATORY AND
                       PERMANENT INJUNCTIVE RELIEF


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                             IDENTITY AND INTEREST OF AMICI

        Amici 363 law professors submit this brief in support of Plaintiff’s Motion for Summary

Judgment and for Declaratory and Permanent Injunctive Relief (the “Motion”) to emphasize the

threat that the President’s Executive Order (the “Order”)1 presents to the independence and

integrity of the legal profession, the rights of clients to seek redress in the courts, and, by extension,

the rule of law. As experts in constitutional law, legal ethics, and the history of the legal profession,

among other fields, we have a significant interest in ensuring that the principles of free speech,

freedom of association, the right to petition the government, and the right to counsel are upheld.

As educators, amici have an interest in fostering the next generation of attorneys, and in preparing

them to zealously represent clients and causes without fear of reprisal. Perkins Coie and the

Government have consented to the filing of this brief. This brief is accompanied by amici’s motion

for leave to file.2 A list of amici is provided in Appendix A.

                                   SUMMARY OF ARGUMENT

        The President’s Order is a self-declared act of retribution that targets a law firm for

representing clients and causes the President disfavors.3 In inflicting this retribution, the Order

contradicts centuries of precedent safeguarding free speech, the right of association, and the right

to petition. These precedents establish that the First Amendment “prohibits government officials



1
  Throughout this brief, “Executive Order” or “Order” refers to Executive Order No. 14230,
codified at 90 Fed. Reg. 11,781 (Mar. 6, 2025) titled “Addressing Risks from Perkins Coie LLP,”
as well as the accompanying Fact Sheet titled “Fact Sheet: President Donald J. Trump Addresses
Risks from Perkins Coie LLP” of the same date.
2
 Amici law professors state that no counsel for a party has authored this brief in whole or in part
and that no person or entity, other than amici law professors or their counsel, has made a monetary
contribution to the preparation or submission of this brief.
3
 This brief focuses on the sections of the Order for which the Court has enjoined enforcement—
namely, Sections 1, 3, and 5.


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from ‘relying on the threat of invoking legal sanctions and other means of coercion . . . to achieve

the suppression’ of disfavored speech.” Nat’l Rifle Ass’n v. Vullo, 602 U.S. 175, 176 (2024)

(quoting Bantam Books, Inc. v. Sullivan, 372 U.S. 58, 67 (1963)). Targeting Perkins Coie for

representing clients and espousing views the President dislikes is viewpoint discrimination, plain

and simple.

       The Order violates the Fifth and Sixth Amendments as well. The Fifth and Sixth

Amendments were designed to check executive power and to ensure a meaningful way to assert

rights before a judicial authority. Powell v. Alabama, 287 U.S. 45, 61, 64–65 (1932). Forcing

lawyers to bend to the preferences of federal officials robs clients of their right to counsel and

introduces the very type of government interference in the administration of justice the Founders

acted to prevent.

       Finally, the Order threatens the rule of law. If the Order stands, it will be open season on

lawyers who have dared to take on clients or causes the President or other officials don’t like. This

is no hypothetical threat. In the run-up to the election, the President posted on Truth Social that

“WHEN I WIN, those people that CHEATED will be prosecuted to the fullest extent of the

Law . . . . Please beware that this legal exposure extends to Lawyers . . . .” Trump Threatens Long

Prison Sentences for Those Who ‘Cheat’ in the Election if He Wins, PBS NEWS (Sept. 8, 2024).

More recently, the President has pledged that Perkins Coie is merely among the first of “a lot of

law firms that we’re going to be going after.” Erin Mulvaney & C. Ryan Barber, Fear of Trump

Has Elite Law Firms in Retreat, WALL ST. J. (Mar. 9, 2025) (quoting President Trump). Indeed,

since the Order at issue here, the President has issued three more Executive Orders targeting Paul,

Weiss, Rifkind, Wharton & Garrison; Jenner & Block; and WilmerHale, all leading law firms. See

Exec. Order No. 14237, 90 Fed. Reg. 13,039 (Mar. 14, 2025) (targeting Paul Weiss); Exec. Order




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No. 14246, 90 Fed. Reg. 13,997 (Mar. 25, 2025) (targeting Jenner & Block); Exec. Order,

Addressing Risks from WilmerHale (Mar. 27, 2025).4 And, one of those firms caved to the

President’s pressure, donating what the President described as “$40 million in pro bono legal

services over the course of President Trump’s term to support the Administration’s initiatives” in

exchange for the Order’s revocation. Ali Abbas Ahmadi, Trump Rescinds Order Targeting Law

Firm After It Makes $40m Promise, BBC (Mar. 21, 2025) (quoting the President’s Truth Social

post); see also Exec. Order No. 14244, 90 Fed. Reg. 13,685 (Mar. 21, 2025) (revoking Executive

Order targeting Paul Weiss).5

       The impact of the Order reverberates far beyond the particular firm that is targeted. Going

forward, a lawyer or law firm that is asked to represent a client on a matter that is likely to trigger




4
  In addition, the President issued a March 22, 2025 memorandum, titled “Preventing Abuses of
the Legal System and the Federal Court,” which directs the Attorney General to, among other
things, “seek sanctions against attorneys and law firms who engage in frivolous, unreasonable, and
vexatious litigation against the United States” and “review conduct by attorneys or their law firms
in litigation against the federal government” in order to identify any misconduct that might warrant
further disciplinary action. Presidential Memorandum, Preventing Abuses of the Legal System and
the Federal Court (Mar. 22, 2025). In different circumstances, a directive to identify and address
ethical misconduct among attorneys might be a reasonable exercise of Presidential authority. But,
considered alongside his Executive Orders targeting the previously mentioned firms, his decision
to deploy governmental resources toward heightened scrutiny of lawyers who challenge his
administration warrants concern.
5
  Three other law firms, Skadden, Arps, Slate, Meagher & Flom; Willkie Farr & Gallagher; and
Milbank have decided to donate uncompensated legal services to causes the President supports in
order stave off similar executive orders. Daniel Barnes, Major Law Firm Strikes Preemptive Deal
with White House, POLITICO (Mar. 28, 2025) (reporting that Skadden announced that it would
donate the equivalent of $100 million in uncompensated legal services on issues the President
supports, and that it would fund fellowships for law school graduates to work on “causes in line
with the administration’s priorities”); Michael S. Schmidt & Maggie Haberman, Trump Announces
Deal with Doug Emhoff’s Law Firm, N.Y. TIMES (Apr. 1, 2025) (reporting that Willkie Farr
reached a similar agreement to provide $100 million in legal services, among other things); Trump
Reaches Agreement with Milbank Law Firm, REUTERS (Apr. 2, 2025) (reporting that Milbank
agreed to provide “at least $100 million” in uncompensated legal services).

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the President’s ire will have to weigh whether they are willing to be placed on the President’s

target list—and lose the business such a placement entails. They must also ask whether taking on

a client of this sort, and whether zealously advocating on that client’s behalf, will hurt other

existing clients to whom ethical duties are owed. The Executive branch has no constitutional

authority to use executive orders as a cudgel to beat the American legal system into submission.

       Beyond the impact on clients and lawyers, orders of this type threaten the integrity of the

judicial process, including the core role of judicial review. That anchor of our constitutional system

cannot function when one person—regardless of his position—is empowered to threaten and

punish lawyers for zealously representing their clients in court. “The Government of the United

States has been emphatically termed a government of laws, and not of men.” Marbury v. Madison,

5 U.S. 137, 163 (1803). Let it not “cease to deserve this high appellation.” Id.

       Amici urge the Court to grant Plaintiff’s Motion.

                                           ARGUMENT

I.     The Executive Order Violates the First Amendment.

       The Order violates the First Amendment in at least four ways. First, the Order singles out

a speaker and discriminates against it because of its views. Second, the Order unconstitutionally

controls the speech and associational freedoms of lawyers engaged in legal work against the

government. Third, the Order imposes unconstitutional conditions on a firm’s access to

government funding and property. Fourth, the Order violates the Petition Clause.

           A. The Executive Order Constitutes Unlawful Viewpoint Discrimination.

       “At the heart of the First Amendment’s Free Speech Clause is the recognition that

viewpoint discrimination is uniquely harmful to a free and democratic society.” Vullo, 602 U.S. at

187. Indeed, while the Supreme Court has long expressed deep skepticism toward all content-



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based speech restrictions, it has reserved its highest opprobrium for those based on viewpoint. As

the Court has explained: “It is axiomatic that the government may not regulate speech based on its

substantive content or the message it conveys.” Rosenberger v. Rector and Visitors of the Univ.

of Va., 515 U.S. 819, 828 (1995). When the government rests its regulation on “particular views

taken by speakers on a subject, the violation of the First Amendment is all the more blatant.” Id.

at 829.

          The Order’s viewpoint discrimination is clear on its face. It rebukes Perkins Coie for

representing candidates and private citizens whom the administration dislikes, including, in the

Order’s words, “failed Presidential candidate Hillary Clinton” and “activist donors including

George Soros.” Order § 1. It also castigates Perkins Coie for advancing specific views through its

litigation. Id. (criticizing Perkins Coie for litigating cases involving voter identification laws). In

doing so, it punishes Perkins Coie for advancing the viewpoints of its clients, despite the well-

established premise that an attorney’s decision to represent a client “does not constitute an

endorsement of the client’s political, economic, social or moral views or activities.” AM. BAR

ASS’N, MODEL RULES OF PROF’L CONDUCT R. 1.2(b).6

          When a governmental action burdens speech because of its content, the action is reviewed

pursuant to strict scrutiny, “which requires the Government to prove that the restriction furthers a

compelling interest and is narrowly tailored to achieve that interest.” Arizona Free Enter. Club’s

Freedom Club PAC v. Bennett, 564 U.S. 721, 734 (2011) (quoting Citizens United v. Fed. Election




6
  See also Eugene Scalia, John Adams, Legal Representation, and the “Cancel Culture,” 44 HARV.
J.L. & PUB. POL’Y 333, 337 (2021) (“[I]ndependence of the lawyer from his client is integral to
the freedom and autonomy that are among the privileges of private practice, and it is essential to
lawyers’ effective performance of their role in our system of justice.”).



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Comm’n, 558 U.S. 310, 340 (2010)).

       The President’s Order targeting his political opponents cannot survive strict scrutiny. To

begin, discriminating against one’s political enemies is not a permissible purpose. Indeed, an act

that “seem[s] ‘inexplicable by anything but animus’” cannot survive even rationality review.

Trump v. Hawaii, 585 U.S. 667, 706 (2018) (quoting Romer v. Evans, 517 U.S. 620, 632 (1996)).

Nor can the Order be justified by the President’s invocation of “the authority vested in me as

President by the Constitution and the laws of the United States of America.” Order, pmbl. The

President is, by his oath of office (and by the Constitution), bound by the dictates of the Bill of

Rights, and has no unilateral power to single out and punish speakers based on nebulous criteria

of his own making.7

       Today, Perkins Coie has fallen into the President’s disfavor. Tomorrow, it could be any

one of us whose speech the President unilaterally deems antithetical to “the interests of the United

States” because that person or organization has chosen to litigate against him. Order § 5.

       The threat is far from hypothetical. As noted at the outset, the President has vowed to “go[]

after . . . a lot of law firms.” Mulvaney & Barber, supra (quoting President Trump). Indeed, the

President has already targeted four other law firms through separate executive actions. Exec.

Order, Addressing Risks from WilmerHale (Mar. 27, 2025); Exec. Order No. 14246, 90 Fed. Reg.

13,997 (Mar. 25. 2025) (targeting Jenner & Block); Exec. Order No. 14237, 90 Fed. Reg. 13,039

(Mar. 14, 2025) (targeting Paul Weiss); Presidential Memorandum, Suspension of Security

Clearances and Evaluation of Government Contracts (Feb. 25, 2025) (targeting Covington &




7
   In New York Times v. United States, Justice Black observed that the government’s power in this
area is particularly weak when “[t]he Government does not even attempt to rely on any act of
Congress.” 403 U.S. 713, 718 (1971) (Black, J., concurring).


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Burling LLP).

       To the extent the President expected that these orders would cause the firms in question to

bend to his will, he has been proven correct: Paul Weiss, facing a potential exodus of clients and

an inability to “survive a protracted dispute with the administration,” agreed to donate the

equivalent of $40 million in uncompensated legal services toward causes consistent with the

President’s agenda. See Michael S. Schmidt & Matthew Goldstein, Head of Paul, Weiss Says Firm

Would Not Have Survived Without Deal with Trump, N.Y. TIMES (Mar. 23, 2025) (quoting Paul

Weiss Chairman Brad Karp). In exchange, the President revoked the relevant Executive Order.

Id.; see also Exec. Order No. 14244, 90 Fed. Reg. 13,685 (Mar. 21, 2025) (revoking Executive

Order targeting Paul Weiss, citing the firm’s decision to donate its legal services).

       To stave off similar orders, other major firms have preemptively capitulated to the

President. Skadden, Arps, Slate, Meagher & Flom recently announced that it would donate the

equivalent of $100 million in uncompensated legal services toward issues the President supports

in order to escape a similar executive order. See Barnes, supra. Willkie Farr & Gallagher and

Milbank have reportedly come to similar agreements. Schmidt & Haberman, supra (reporting that

Willkie Farr agreed to donate $100 million dollar in legal services toward causes the President

backs to avoid an executive order order); Trump Reaches Agreement, supra (reporting that

Milbank agreed to a similar deal with the President). As the President himself has said, “They’re

all bending and saying, ‘Sir, thank you very much.’” Katelyn Polantz, The Chilling Effect of

Trump’s War Against the Legal Establishment, CNN (Mar. 11, 2025) (quoting the President).

       The chilling impact of the President’s actions is not limited to the firms the President has

targeted; it has cast a shadow over the legal profession at large. Firms across the country are

declining to represent clients and causes the President disfavors. See Michael Birnbaum, Law




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Firms Refuse to Represent Trump Opponents in the Wake of His Attacks, WASH. POST (Mar. 25,

2025) (reporting that potential clients seeking representation in actions adverse to the President

have had difficulty finding representation); Polantz, supra (reporting on the “chilling” effect of the

President’s executive actions toward law firms). Lawyers have been cowed into submission,

incentivized to stay quiet, toe the line, and cave to the President’s demands—lest they and their

clients be punished.

           B. The Order Is Especially Dangerous Insofar as It Seeks to Insulate
              Government Actors from Legal Challenge.

       Although viewpoint discrimination is hardly ever tolerated, it is especially dangerous when

governmental officials wield it to insulate themselves from legal scrutiny. The Supreme Court

expressed just this concern in Legal Services Corp. v. Velazquez, 531 U.S. 533 (2001). In

Velazquez, the Court invalidated a federal statute that prohibited Legal Services Corporation

(LSC)-funded attorneys from challenging federal or state welfare laws. Id. at 537–49. The

restriction, said the Court, impermissibly “distort[ed] the legal system by altering the traditional

role of attorneys” as zealous advocates for their clients. Id. at 544. And, to make matters worse, it

“insulate[d] the Government’s interpretation of the Constitution from judicial challenge,” id. at

548, thus implicating “central First Amendment concerns,” id. at 547.

       The Order in this case is considerably more troubling than the statute invalidated in

Velazquez. Through this Order, the President has arrogated to himself the power to single out

lawyers and law firms who cross him, simply by declaring their legal work, past or present,

contrary to the national interest. See Order § 5. If the Order is allowed to stand, the zealous

advocacy that is the hallmark of a functioning court system will be chilled in dramatic ways, as

lawyers tiptoe fearfully away from disfavored views and clients.




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             C. The Order Places Unconstitutional Conditions on a Speaker’s Access to
                Government Funds and Property.

        The Order seeks to punish Perkins Coie in numerous ways, including terminating its

government contracts, Order § 3(b); threatening the contracts of those who do business with them,

id. §§ 3(a), 3(b); precluding every single firm employee from working for a federal agency in the

future (absent a waiver), id. § 5(b); and limiting firm lawyers’ access to federal government

buildings (potentially including courthouses), id. § 5(a). These provisions run afoul of well-

established limitations on the government’s power to condition benefits on the viewpoint of a

recipient.

        Indeed, Velazquez itself involved a condition on government funding of lawyers’ work.

The statutory prohibition on LSC-funded lawyers’ constitutional arguments applied only to certain

congressionally funded legal services (namely, constitutional challenges to welfare laws).

Velazquez, 531 U.S. at 537–39. The Court concluded, nonetheless, that Congress could not

condition funding on viewpoint-based restrictions that distorted the very “medium of

expression”—litigation and representation of clients—through which the funded expression took

place. Id. at 543.

        Velazquez fits within a broader framework that the Court has created for evaluating speech-

based conditions on accessing public property, programs, or funds. This framework establishes

that the government may not dictate private speakers’ viewpoints as a condition of allowing them

to access such resources. See Agency for Int’l Dev. v. Alliance for Open Society Inst., 570 U.S.

205, 214 (2013) (“[T]he Government may not deny a benefit to a person on a basis that infringes

his constitutionally protected freedom of speech even if he has no entitlement to that benefit.”)

(cleaned up). The government “offends the First Amendment when it imposes financial burdens

on certain speakers based on the content of their expression.” Rosenberger, 515 U.S. at 828. The


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Order runs well afoul of this essential bar on viewpoint-based conditions.

            D. The Order Violates the First Amendment’s Petition Clause.

        The Order also violates the Petition Clause. The First Amendment forbids “abridging” the

“right of the people” to “petition the Government for a redress of grievances.” The Supreme Court

has “recognized this right to petition as one of the most precious of the liberties safeguarded by

the Bill of Rights” and has “explained that the right is implied by the very idea of a government,

republican in form.” BE & K Const. Co. v. N.L.R.B., 536 U.S. 516, 524–25 (2002) (cleaned up).

The Court has repeatedly held that the right of access to courts can implicate “the protections of

the Petition Clause.” Borough of Duryea, Pa. v. Guarnieri, 564 U.S. 379, 387 (2011).

        The Order directly interferes with access to the courts. It directs federal officials to “limit[]

official access from Federal Government buildings to employees of Perkins Coie,” to the extent

permitted by law, whenever such access would “be inconsistent with the interests of the United

States.” Order § 5(a). The Supreme Court has treated physical access to courthouses as an aspect

of “the fundamental right of access to the courts.” Tennessee v. Lane, 541 U.S. 509, 533–34 (2004).

The gauzy “interests of the United States” are insufficient to threaten Perkins Coie’s access to

federal courthouses and administrative agencies, or to other government buildings where it seeks

to meet to further its clients’ interests.

        Further, the Order retaliates against Perkins Coie for positions it has taken in litigation

against government actors—most notably in its cases seeking to “judicially overturn” various

“election laws, including those requiring voter identification.” Order § 1. This Court should not

permit the President to punish Perkins Coie for its past actions in petitioning the government for

redress of its clients’ interests. That retaliation against lawful petitioning itself runs afoul of the

Petition Clause. See Borough of Duryea, 564 U.S. at 387 (holding that retaliation by government




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employee can violate the Petition clause); see also Nader v. Democratic Nat’l Comm., 567 F.3d

692, 696 (D.C. Cir. 2009) (“[W]hen a person petitions the government for redress, the First

Amendment prohibits any sanction on that action . . . so long as the petition was in good faith.”).

        Under the test announced by the Supreme Court in Mount Healthy City School District

Board of Education v. Doyle, 429 U.S. 274 (1977), Perkins Coie is entitled to relief on its First

Amendment claim if it “show[s] that [its] conduct was constitutionally protected, and that this

conduct was a ‘substantial factor’ or to put it in other words, that it was a ‘motivating factor’” in

the challenged decisions, unless the Government can show “by a preponderance of the evidence

that it would have reached the same decision . . . even in the absence of the protected conduct.” Id.

at 287. Here, Perkins Coie’s representation of clients and causes the President dislikes is plainly a

motivating factor for the actions in the Order.

II.     The Executive Order Violates the Fifth and Sixth Amendments.

        The Order also violates the Fifth and Sixth Amendments, as it tramples on clients’ right to

select a lawyer free of government intervention. The right to counsel of choice is a bedrock

principle of our constitutional order. That right would be meaningless if the Executive branch of

the federal government could decide who represents—and who doesn’t represent—its adversaries

in court.

        The “notion of compulsory counsel,” i.e., forcing a party to accept a particular lawyer,

“was utterly foreign” to the Founders. Faretta v. California, 422 U.S. 806, 833 (1975).

“[W]hatever else may be said of those who wrote the Bill of Rights, surely there can be no doubt

that they understood the inestimable worth of free choice.” Id. at 833–34.

        The Founders were well aware that executive control of access to counsel could distort the

administration of justice. The English system against which the Sixth Amendment right to counsel




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was established featured “[a]n inherent imbalance in favor of the prosecution” to protect the

Crown’s interest in ensuring conviction of accused felons. J.M. Beattie, Scales of Justice: Defense

Counsel and the English Criminal Trial in the Eighteenth and Nineteenth Centuries, 9 L. & HIST.

REV. 221, 222 (1991). “The justices of the peace were to deal with felony accusations as agents of

the king, not as judicial officers . . . [and] the accused had few rights.” Id. at 222–23. In the eyes

of the Crown, “defense counsel was not only unnecessary, but positively harmful.” Id. at 223.

       Gradually, a right to counsel in felony cases emerged in England, finding its roots in the

Treason Act of 1696, which required the presence of defense counsel in response to the obvious

“unfairness of a procedure under which the case for the Crown was presented by lawyers, often by

the attorney general, while defendants were on their own.” Id. at 224. Providing counsel in treason

cases was a critical first step toward ensuring that the Crown’s politically motivated invocations

of safety and security to justify criminal prosecution would be tested by a zealous advocate for the

accused.

       Experience with the inequities of the English system prompted Americans to enshrine the

right to counsel in fundamental law. “As early as 1758,” Blackstone had “denounced” the

prohibition of counsel in felony cases, and in America, “at least twelve of the thirteen colonies”

had “definitely rejected” the English prohibition. Powell v. Alabama, 287 U.S. 45, 60–61, 64–65

(1932). The “oppressive” English rule, the Supreme Court has emphasized, “never obtained a

foothold” here. Id. at 65 (quoting Holden v. Hardy, 169 U.S. 366, 386 (1898)).

       The Founders emphatically rejected the English Rule in the Constitution. The Sixth

Amendment secures the accused’s right “to be defended by the counsel he believes to be the best.”

United States v. Gonzalez-Lopez, 548 U.S. 140, 146 (2006); see also Luis v. United States, 578

U.S. 5, 11 (2016) (“[T]he Sixth Amendment grants a defendant ‘a fair opportunity to secure




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counsel of his own choice.’”) (quoting Powell, 287 U.S. at 53); Kaley v. United States, 571 U.S.

320, 336 (2014) (remarking that defendants “have a vital interest” in “the constitutional right to

retain counsel of their own choosing”). “The right to select counsel of one’s choice . . . has been

regarded as the root meaning of the constitutional guarantee.” Gonzalez-Lopez, 548 U.S. at 147–

48. Critically, the Constitution secures that right precisely to prevent the government from

controlling the loyalty, quality, and vigor of the defense. See Strickland v. Washington, 466 U.S.

668, 686 (1984) (“Government violates the right to effective assistance when it interferes in certain

ways with the ability of counsel to make independent decisions about how to conduct the

defense.”). Indeed, in criminal cases, the Supreme Court has recognized that “[w]here a

constitutional right to counsel exists, our Sixth Amendment cases hold that there is a correlative

right to representation that is free from conflicts of interest.” Wood v. Georgia, 450 U.S. 261, 271

(1981); see also McCord v. Bailey, 636 F.2d 606, 618 n.2 (D.C. Cir. 1980) (Wald, J., concurring

in part and dissenting in part) (“The right to the undivided loyalty of one’s attorney is ‘absolute’

in the sense that it does not depend on one’s guilt or innocence. That duty of loyalty is a crucial

factor in the success of our adversary system of justice.”).

        In civil matters, the Due Process Clause of the Fifth Amendment protects litigants’ access

to counsel.8 “‘[T]he right to be heard would be, in many cases, of little avail if it did not

comprehend the right to be heard by counsel.’” Goldberg v. Kelly, 397 U.S. 254, 270 (1970)




8
  Actions that abridge an individual’s or entity’s selection of counsel also violate the First
Amendment. See United Mine Workers v. Ill. State Bar Ass’n, 389 U.S. 217, 223–25 (1967)
(holding that prohibitions on a union’s ability to hire attorneys on a salaried basis violated the First
Amendment); Railroad Trainmen v. Va. ex rel. Va. State Bar, 377 U.S. 1, 5–7 (1964) (holding that
the First Amendment protected a union’s ability to recommend attorneys to its members); NAACP
v. Button, 371 U.S. 415, 438–445 (1963) (invalidating, on First Amendment grounds, a law
prohibiting civil rights groups from engaging in public interest litigation).


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(quoting Powell, 287 U.S. at 68–69) (holding that the party opposing the government in an

administrative proceeding generally “must be allowed to retain an attorney if he so desires”).9

Interference with the free choice of counsel and disruption of existing attorney-client relationships

in civil cases carries similar costs to the impartial, fair, and accurate administration of justice as it

does in criminal cases. Legal ethics rules fortify this constitutional requirement by restricting a

lawyer’s ability to represent clients when their loyalties are divided. The ABA’s Model Rules

provide that, with certain exceptions, “a lawyer shall not represent a client if . . . there is a

significant risk that the representation . . . will be materially limited by the lawyer’s responsibilities

to . . . a third person or by the personal interest of the lawyer.” AM. BAR ASS’N, MODEL RULES OF

PRO. CONDUCT R. 1.7(a).10

        By making loyalty to the whims of federal officeholders a practical condition of counsels’

availability to serve a client, the Order violates the Fifth Amendment. The risks to a law firm

subject to this Order or a similar one are significant: loss of, among other things, access to any

“[g]overnment goods, property, material and services,” government contracts, access to

government buildings (presumptively including courts) unless specifically authorized, and the

firm’s clients’ loss of their government contracts. Order §§ 2, 3, 5. That is not to mention the risk

that employees of such a firm cannot be hired by any government agency absent a waiver from the

head of the agency, made in consultation with the Director of the Office of Personnel Management.




9
  Just as the freedom to choose counsel is protected by the Fifth Amendment, so too does the Fifth
Amendment prohibit the Government from unlawfully infringing upon a lawyer’s right to practice
their chosen profession. See Bd. of Regents v. Roth, 408 U.S. 564, 576 n.15 (1972) (discussing
Goldsmith v. Bd. of Tax Appeals, 270 U.S. 117 (1926)).
10
   A lawyer’s representation of a client can certainly be “materially limited . . . by the personal
interests of the lawyer” when the lawyer operates in a climate of fear of Presidential retribution if
a particular argument is met with disfavor. Id.


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Id. § 5(b). Many lawyers will find these risks to themselves and their clients to be unacceptably

high. They will instead avoid cases and clients that touch on issues that might anger the President—

or (perhaps worse) avoid raising arguments that may incur the President’s wrath.

        The Executive Order eviscerates the client’s right to a lawyer whose fidelity is undivided,

runs roughshod over the Fifth and Sixth Amendments, and revives precisely the system of abuse

of centralized power which the Founders rejected. By threatening attorneys’ livelihood for their

having spoken out against the preferred policy positions of a sitting President, the Order is intended

to—and will—cow attorneys into silence, depriving clients of rights secured by the Fifth and Sixth

Amendments. An attorney whose “lips” are “sealed . . . on crucial matters” for fear that she will

provoke the ire of the Executive, is no attorney at all. See Holloway v. Arkansas, 435 U.S. 475,

490 (1978) (commenting, in a case where a single attorney represented multiple defendants with

conflicting interests, “[t]he mere physical presence of an attorney does not fulfill the Sixth

Amendment guarantee when the advocate’s conflicting obligations have effectively sealed his lips

on crucial matters.”).

III.    The Executive Order Threatens the Rule of Law.

        That the Order violates core First, Fifth, and Sixth Amendment rights by restricting the

ability of Perkins Coie and its clients to participate in the legal system is cause enough for the

Court to grant the Motion. The need to provide Perkins Coie relief is all the more urgent, however,

because the Order poses a broader threat to the rule of law.

        Lawyers play an essential role in upholding America’s democratic institutions. As Alexis

de Tocqueville observed in the early days of the Republic, lawyers’ ability to vindicate the rights

of their clients and their attachment to the Constitution and laws serves as “the most powerful

existing security against the excesses of democracy.” ALEXIS DE TOCQUEVILLE, DEMOCRACY IN




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AMERICA 301 (Henry Reeve trans., 2002) (1835). Lawyers’ response to governmental abuses is no

less essential to the rule of law and an independent judiciary today than it was then. See Velazquez,

531 U.S. at 545 (“An informed, independent judiciary presumes an informed, independent bar.”).

“Intolerance and pressure to suppress ideas that may be unwelcome to some poses a special threat

to the legal profession.” Scalia, supra at 334. “One of the great traditions of the profession is

respect for the right to representation of those with whom we disagree, and even to undertake that

representation ourselves.” Id.; see also Hon. J. Michael Luttig, Address to the Am. Bar Ass’n

Annual Meeting of the Nat’l Conf. of State Bar Leaders (Aug. 4, 2023) (recognizing that lawyers

are “uniquely qualified and obligated to defend our Constitution, [r]ule of [l]aw, and

[d]emocracy”).

        Courts must maintain unwavering “vigilance” when the government “imposes rules and

conditions” on attorneys that restrict their ability to effectively represent their clients, particularly

when such restrictions “in effect insulate its own laws from legitimate judicial challenge.”

Velazquez, 531 U.S. at 544. Restricting attorneys “in advising their clients and in presenting

arguments and analyses to the courts distorts the legal system by altering the traditional role of the

attorneys.” Id. And, chilling attorneys alters the basic role of the courts in a government that relies

on judicial review to protect constitutional rights. In an adversarial system, courts consider issues

only when lawyers have presented them. Limits on lawyers readily become limits on courts.

        The Order is a blatant attempt to hamstring attorneys’ ability to zealously represent

clients—and, particularly, clients who seek to challenge the Executive’s authority. At the most

basic level, the President seeks to interfere not only with prospective federal contractors’ counsel

of choice, but with the rights of Perkins Coie’s existing clients involved in civil and criminal

matters with the government, and with the firm’s constitutional and ethical obligations to clients




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in such cases.

       But the threat from the Order goes far beyond Perkins Coie and its clients. Under the

specter of the Order, any firm that has, or hopes to, retain clients who contract with the federal

government will have to shape its practice to meet the whims of the President. By the same token,

clients who want to stay in the President’s good graces will either drop a firm or demand that the

firm drop other clients perceived to be enemies of the President.11

       The challenged Order names only one law firm, but in so doing, it dangles a Sword of

Damocles over all those who refuse to place loyalty to the President above the interests of their

clients and the law. It seeks to destroy a functional bar that ensures the government follows the

law, substituting instead a bar that is, at best, reluctant to challenge the government, and, at worst,

one that is a plaything of the party in power. That sword has already fallen on at least seven other

firms, see supra pages 6–8. This Court should enjoin this abuse of executive power before it goes

any further.

                                          CONCLUSION

       For the foregoing reasons, amici respectfully request that the Court grant Perkins Coie’s

Motion for Summary Judgment and for Declaratory and Permanent Injunctive Relief.




11
  As detailed in the firm’s declarations, the Executive Order has already caused Perkins Coie to
lose clients. See Declaration of David J. Burman in Support of Motion for Temporary Restraining
Order, ECF No. 2-2, at ¶ 29 (“[S]everal clients have already terminated, or communicated that
they are considering terminating, their legal engagements with Perkins Coie.”).



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Dated: April 2nd, 2025             Respectfully submitted,

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                          CERTIFICATE OF COMPLIANCE

       Pursuant to LCvR 7(o), I hereby certify that this brief conforms to the requirements of LCvR

5.4, complies with the requirements set forth in Fed. R. App. P. 29(a)(4), and does not exceed 25

pages in length.

       DATED this 2nd day of April 2025.


                                            /s/ Phillip R. Malone
                                            Phillip R. Malone




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                                  CERTIFICATE OF SERVICE

       I hereby certify that on April 2nd, 2025, I electronically filed the original of this brief with

the Clerk of the Court using the CM/ECF system. Notice of this filing will be sent to all attorneys

of record by operation of the Court’s electronic filing system.

       DATED this 2nd day of April 2025.


                                              /s/ Phillip R. Malone
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                                         APPENDIX A

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 Institutional affiliations are provided for purposes of identification only and do not reflect the
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Betsy Grey                                      Wake Forest University
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Arizona State University College of Law         Rebecca Hamilton
                                                Professor of Law
                                                American University Washington College of
                                                Law




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G.S. Hans                                       Laura A. Heymann
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Cornell Law School                              William & Mary Law School

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University of Idaho College of Law              Case Western Reserve University

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                                                University of Minnesota Law School
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Richard R. Lee Jr. Endowed Professor of         Robert A. Hillman
Law                                             Edwin H. Woodruff Professor of Law,
SMU-Dedman School of Law                        Emeritus
                                                Cornell Law School
Antony Haynes
Professor of Law                                Keith Hirokawa
Albany Law School                               Distinguished Professor of Law
                                                Albany Law School
Paul J. Heald
Albert J. Harno & Edward W. Cleary Chair        Timothy R. Holbrook
in Law, Emeritus                                Provost’s Professor & Robert B. Yegge
University of Illinois College of Law           Endowed Distinguished Professor in Law
                                                University of Denver Sturm College of Law
William Henderson
Professor and Stephen F. Burns Chair on the     Nicholas D. Horan
Legal Profession                                Associate Teaching Professor and Assistant
Indiana University Maurer School of Law         Dean for Academic Success
                                                Northeastern University School of Law
Helen Hershkoff
Herbert M. and Svetlana Wachtell Professor      Aziz Huq
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NYU School of Law                               Law
                                                University of Chicago Law School
Kathy Hessler
Assistant Dean of Animal Law and Clinical       Rebecca Ingber
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The George Washington University Law            Benjamin N. Cardozo School of Law
School
                                                Steven D. Jamar
Robert Heverly                                  Professor of Law, Emeritus
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Albany Law School




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Dawn Johnsen                                    Neil Kinkopf
Walter W. Foskett Professor of Law              Professor of Law
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University of Oklahoma College of Law           Northwestern Pritzker School of Law

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Linda D. Jellum
Professor of Law                                Michael Klarman
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                                                Legal History
Jeffrey Kahn                                    Harvard Law School
University Distinguished Professor of Law
SMU Dedman School of Law                        Alexandra Klein
                                                Assistant Professor of Law
Johanna Kalb                                    Washington & Lee University School of
Dean and Professor of Law                       Law
University of San Francisco School of Law
                                                Harold Hongju Koh
Pamela S. Karlan                                Sterling Professor of International Law
Kenneth and Harle Montgomery Professor          Yale Law School
of Public Interest Law
Stanford Law School                             Susan P. Koniak
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Alexis Karteron                                 Boston University School of Law
Professor of Clinical Law
NYU School of Law                               William S. Koski
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                                                Harold J. Krent
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Anthony W. and Lulu C. Wang Professor          Professor of Practice
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                                               O’Connor College of Law
Amy Landers
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                                               Rutgers Law School
John Thomas Langford
Visiting Associate Clinical Professor of Law   Leslie Levin
Yale Law School                                Professor of Law
                                               University of Connecticut School of Law
Peter Larsen
Assistant Professor of Law                     David S. Levine
Mitchell Hamline School of Law                 Professor of Law
                                               Elon University School of Law
Michael Lawrence
Professor of Law                               Ariana Levinson
Michigan State University                      Frost, Brown, Todd Professor of Law
                                               University of Louisville
Robert P. Lawry
Emeritus Professor of Law                      Justin Levitt
Case Western Reserve University                Professor of Law
                                               LMU Loyola Law School
Thomas S. Leatherbury
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SMU Dedman School of Law                       Saint Louis University School of Law

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School of Law



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Roger Williams University School of Law         University of North Carolina

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Mary A. Lynch                                   Professor of Law
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Democracy
Albany Law School                               Thomas Wm. Mayo
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                                                Dean & William S. Pattee Professor of Law
Carol Mallory                                   University of Minnesota School of Law
Teaching Professor
Northeastern University School of Law           Nicholas M. McLean
                                                Assistant Professor of Law
Suzette Malveaux                                University of Hawai’i at Mānoa, William S.
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Law                                             M. Isabel Medina
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Maya Manian                                     Law
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Law
                                                Joan Meier
Cathy Lesser Mansfield                          NFVLC Professor of Clinical Law
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                                                Michelle Mello
Irina Manta                                     Professor of Law
Professor of Law                                Stanford Law School
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University                                      Bernadette Meyler
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                                                Stanford Law School



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                                               Cornell Law School
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Robert Walmsley University Professor and       Sharmila Murthy
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                                               Ellen Murphy
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                                               Ryan H. Nelson
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Associate Professor of Law, Dwight Olds        South Texas College of Law Houston
Chair in Law
University of Houston Law Center               Burt Neuborne
                                               Norman Dorsen Professor of Civil Liberties
Alison Morantz                                 Emeritus
James and Nancy Kelso Professor of Law         NYU Law School
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Nicole Morris                                  Professor from Practice
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                                               Steve H. Nickles
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San Francisco                                  University Distinguished Professor and
                                               Rothgerber Chair in Constitutional Law
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                                              Law
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                                              Law
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Michael Stokes Paulsen                        Law
Distinguished University Chair & Professor
of Law                                        Lucas A. Powe, Jr.
The University of St. Thomas School of        Anne Green Regents Chair
Law                                           University of Texas School of Law




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                                                William Thomas Fryer Research Professor
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                                                Andrew Scherer
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Suffolk University Law School
                                                Philip G. Schrag
Zahr Said                                       Delaney Family Professor of Public Interest
Professor of Law                                Law
Santa Clara University Law School               Georgetown Law School



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                                                 Jessica Silbey
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                                                 Santa Clara University School of Law
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Law                                              Law

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                                              Responsibility
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                                              Frank Sherry Professor of Intellectual
Norman W. Spaulding                           Property Law
Nelson Bowman Sweitzer and Marie B.           Georgetown Law School
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                                              Professor of Law
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Edward H. Levi Distinguished Professor of     Dolores Huerta & Wilma Mankiller
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George Triantis                                   Thomas M. Siebel Senior Fellow
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                                                  FIU College of Law
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                                                  Laura Weinrib
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                                                  Law
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                                                  Georgetown Law School
Liza Vertinsky
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                                                  University



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